                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION

DAVID EARL MILLER,                             )
NICHOLAS TODD SUTTON,                          )
STEPHEN MICHAEL WEST,                          )     No. 3:18-cv-01234
TERRY LYNN KING,                               )     Judge Campbell
                                               )
Plaintiffs,                                    )     Death Penalty Case
                                               )     Execution date Dec. 6, 2018
v.                                             )     for David Miller
                                               )
TONY PARKER, Commissioner,                     )
Tennessee Department of Correction,            )
in his official capacity,                      )
                                               )
       and                                     )
                                               )
TONY MAYS, Warden,                             )
Riverbend Maximum Security                     )
Institution, in his official capacity,         )
                                               )
Defendants.                                    )



                               NOTICE TO COURT


       COMES NOW Plaintiffs David Earl Miller, Nicholas Todd Sutton, Stephen

Michael West, and Terry Lynn King, by and through counsel, gives notice to the

Court on the status of coordinating a date with opposing counsel for an initial

hearing on Plaintiffs’ Motion for Temporary Restraining Order (After Notice) and/or

Preliminary Injunction (R.7). The undersigned counsel did attempt to contact

opposing counsel today to confer on setting a date for the initial hearing, however,

opposing counsel is sick and out of the office. The undersigned counsel will

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continue to coordinate with opposing counsel on a hearing date and will notify the

Court promptly once the undersigned counsel and opposing counsel are able confer.

                                      Respectfully submitted,

                                      FEDERAL DEFENDER SERVICES
                                      OF EASTERN TENNESSEE, INC.

                                      BY: s/Stephen M. Kissinger
                                      Stephen M. Kissinger, WY Bar 5-2342
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                                      Attorney for Plaintiffs




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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2018, this Notice to Court was filed
electronically via the Court’s electronic filing system upon the following person.
Parties may access this filing through the Court’s electronic filing system.

Scott C. Sutherland
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                                        s/Stephen M. Kissinger
                                        Stephen M. Kissinger




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